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                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

  IN RE:                                             §   CHAPTER 11
                                                     §
  DARYL GREG SMITH and,                              §   CASE NO. 21-60162-RBK-11
  CANADIAN RIVER RANCH, LLC                          §   CASE NO. 21-60163-RBK-11
                                                     §   Jointly Administered Under
                                                     §   Case No. 21-60162-rbk
           Debtors.                                  §

          NOTICE OF FILING OF QUARTERLY FEE AND EXPENSE STATEMENT
            OF HMP ADVISORY HOLDINGS, LLC D/B/A HARNEY PARTNERS,
              AS FINANCIAL ADVISORS TO THE CHAPTER 11 TRUSTEE,
                        FOR THE SECOND QUARTER OF 2022

  TO THE HONORABLE RONALD B. KING,
  CHIEF UNITED STATES BANKRUPTCY JUDGE:

           PLEASE TAKE NOTICE that on August 3, 2021, this Court entered the Order

  Approving Employment of HMP Advisory Holdings, LLC d/b/a Harney Partners as Financial

  Advisors to the Chapter 11 Trustee Pursuant to 11 U.S.C. §§105(a) and 363(b) of the

  Bankruptcy Code Effective as of June 29, 2021 [Doc. 150] (the “Order”).

           PLEASE TAKE FURTHER NOTICE that, pursuant to paragraph 2(a) of the Order,

  HMP Advisory Holdings, LLC d/b/a Harney Partners (“Harney Partners”) shall file with the

  Court, and provide notice to the United States Trustee and any committee appointed, reports of

  compensation earned and expenses incurred on a quarterly basis (each a “Quarterly

  Statement”).

           PLEASE TAKE FURTHER NOTICE that the Quarterly Statement for the second

  quarter of 2022 is attached hereto as Exhibit A.




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                                              Respectfully submitted,

                                              WALLER LANSDEN DORTCH & DAVIS, LLP

                                              By: /s/ Morris D. Weiss
                                                 Morris D. Weiss
                                                 Texas Bar No. 21110850
                                                 Courtney K. Stone
                                                 Texas Bar No. 24093208
                                                 100 Congress Ave., Suite 1800
                                                 Austin, Texas 78701
                                                 Telephone: (512) 685-6400
                                                 Facsimile: (512) 685-6417
                                                 Email:      morris.weiss@wallerlaw.com
                                                             courtney.stone@wallerlaw.com

                                              COUNSEL TO GREGORY S. MILLIGAN,
                                              CHAPTER 11 TRUSTEE


                                  CERTIFICATE OF SERVICE

                 I hereby certify that the above and foregoing document has been served on the
  United States Trustee as listed below via the Court’s ECF System on July 22, 2022.

  Gary W. Wright and Shane P. Tobin
  Office of the United States Trustee
  903 San Jacinto Blvd., Room 230
  Austin, TX 78701


                                              /s/ Morris D. Weiss
                                              Morris D. Weiss




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                                                EXHIBIT A

                                  Quarterly Report for 2nd Quarter of 2022




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Harney Partners
Daryl Greg Smith and Canadian River Ranch, LLC
Quarterly Staffing Report: 2Q2022

FEES BY PROFESSIONAL
Professional                         Hours    Fees
Erik White                             46.8 $19,316.25
TOTAL FEES                             46.8 $19,316.25

FEES BY TASK CATEGORY
Category                             Hours    Fees
Case Administration                      3.9 $1,657.50
Claims Administration                  25.2 $10,710.00
Corporate Finance / Financing            6.7 $2,847.50
Financial Analysis                       5.7 $2,422.50
Reporting & Analysis                     1.8   $765.00
Tax Issues                               0.8   $340.00
TOTAL FEES                             46.8 $19,316.25



Tasks/Contributions
Complete MOR reporting
Claims analysis and participation in claims negotiations and mediation
Financial analysis
Support of Chapter 11 Trustee in asset disposition processes / plan development
Outreach to potential buyers / capital providers to monetize solar lease tract
